Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 1 of 49



          IN THE UNITED STATES DISTRICT COURT
             FOR THE DISTRICT OF MARYLAND
                (Southern Division)

___________________________________

Reverend Alicia Byrd, Ph.D.
                                        :

              Plaintiff,                :

        vs.                             :
                                            Case No. DKC 17-3251
Bishop William P. DeVeaux, et al.       :

                                        :
          Defendants.
 _________________________________

    PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION
              FOR SUMMARY JUDGMENT

     Plaintiff Reverend Alicia Byrd, Ph.D., by and through

her attorneys Bernard C. Coleman, Jr. and Coleman &

Hearns, LLC., files this motion in opposition to

Defendants motion for summary judgment.        In support of

this motion, Plaintiff has attached an affidavit, exhibits

and Memorandum of Points and Authorities.



                             Respectfully submitted,


                             COLEMAN & HEARNS, LLC

                             /s/Bernard C. Coleman, Jr.
                             Bernard C. Coleman, Jr.(10502)
                             1401 Mercantile Lane
                             Suite 104
                             Upper Marlboro, Maryland 20774
                             (301) 567 1920
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 2 of 49



          IN THE UNITED STATES DISTRICT COURT
             FOR THE DISTRICT OF MARYLAND
                (Southern Division)

___________________________________

Reverend Alicia Byrd, Ph.D.
                                        :

              Plaintiff,                :

        vs.                             :
                                            Case No. DKC 17-3251
Bishop William P. DeVeaux, et al.       :

                                        :
          Defendants.
 _________________________________

     PLAINTIFF’S STATEMENT OF MATERIAL FACTS

     Plaintiff Reverend Alicia Byrd, Ph.D., by and through

her attorneys Bernard C. Coleman, Jr. and Coleman &

Hearns, LLC., hereby submit this Statement of Material

Facts pursuant to FRCP 56 and Local Rule 105 in opposition

to Defendants’ motion for summary judgment.

1.   That the Plaintiff filed an action for false light

invasion of privacy in the Circuit Court for Prince

George’s County, Maryland on September 27, 2017.

2.   That the Defendants filed a Notice of Removal with

this Court on November 3, 2017.

3.   That the Plaintiff on December 1, 2017 filed a motion

to remand.




                                 2
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 3 of 49



4.   That the Court denied the motion to remand on January

5, 2018.

5.   Reverend Alicia Byrd, Ph.D., was Class A pastor within

the African Methodist Episcopal Church and was a Class A

pastor within the AME Church since 1988. Plt.’s Comp.,

para. 11, Byrd Depo. 23:3. Exhibit D

6.   Dr. Byrd was appointed to St. Stephens AME Church in

Elkridge, Maryland in June of 1988 and was reappointed as

pastor to the same charge annually until April 15, 2015

when she was placed on administrative leave by Bishop

William P. DeVeaux, Sr. Plt.’s Comp., para. 12., Byrd

Depo. 23:7-12. Exhibit D

7.   Dr. Byrd and members of St. Stephens AME Church burned

a church mortgage in 1992 and began to seek ways that the

church could expand their church meeting and ministry

spaces.     Plt.’s Comp. para. 13; Byrd Aff., para. 4.,

Exhibit A

8.   The St. Stephens Economic Development Corporation was

formed in February 1988 to raise funds from public,

private and foundation sources for the construction of the

St. Stephens Child Care and Community Center on its

property at 7741 Mayfield Avenue.       St. Stephens AME church

and community members served on the board of directors of

the St. Stephens Economic Development Corporation.          Plt’s

                                 3
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 4 of 49



Comp., para 14; Bryd Depo., 53:14; Bryd Aff., para. 5.,

Exhibits A & D

9.    That central to the church’s plans were to provide

affordable child care for low-income to moderate income

families residing in Howard County and the nearby counties

in order to improve the economic conditions of these

families.    Plt’s Comp., para. 15; Byrd Depo. 73:1-6; Byrd

Aff., para. 6. Exhibits A & D

10.    The church members voted on January 30, 1994 to build

a ministry building adjacent to St. Stephens AME Church.

Plt’s Comp., para. 16; Byrd Aff., para. 7. Exhibit A

11.    St. Stephens AME church members, county leaders and

licensed contractors worked on committees to plan the

childcare building and the child care program that would

help to pay for the construction and debt service (if

required) for this building called the St. Stephens Child

Care and Community Center.      Plt’s Comp., para. 17; Byrd

Aff., para. 8. Exhibit A

12.    That in the course of gaining the necessary approvals

to redevelop its site located at 7741 Mayfield Avenue, in

Elkridge, Maryland, Pastor Byrd and the St. Stephens

Church Trustees discovered its deed only recorded a grant

to St. Stephens AME Church of .5 acres of land and not the

1.087 acres St. Stephens AME Church had continuously used

                                 4
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 5 of 49



and maintained for over twenty (20) years.         Plt’s Comp.,

para. 18; Byrd Aff., para. 9. Exhibit A.

13.   St. Stephens AME Church members reported the granting

of the additional .587 acres early in the 20th century,

however, this grant was never recorded.        Plt’s Comp.,

para. 19; Byrd Aff., para. 10. Exhibit A

14.   That in order to clear its title and to settle an

unrecorded legal claim by Reverend Roland Howard, Pastor

Byrd and the St. Stephens AME Church Board of Trustees

executed a confirmatory deed in the Circuit Court for

Howard County for the unrecorded land grant under adverse

possession in October 2000.      Plt’s Comp., para. 20; Byrd

Aff., para. 11. Exhibit A

15.   From 1994 to 2006 the St. Stephens AME Church and St.

Stephens Economic Development Corporation initiated plans

and fundraising activities for an eight thousand square

foot day care center that would serve children from six

weeks of age to eighteen years of age.        Plt’s Comp., para.

21; Byrd Aff., para. 12. Exhibit A

16.   On February 5, 1998 St. Stephens AME Church was

granted a license to build parking spaces on .5 acres of

county land located behind the church.        This lease would

allow access and egress to the church and the day care

center on the ground and upper levels of its site and

                                 5
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 6 of 49



obviate the need to construct an elevator to both levels

of the child day care and future church building.          Plt’s

Comp., para. 22; Byrd Aff., para. 13. Exhibit A

17.   On October 17, 1999 St. Stephens AME Church entered

into a ground lease with the St. Stephens Economic

Development Corporation to build the child care/community

building on .25 acres of its land.        Under this lease the

church retained ownership of the property and the St.

Stephens Economic Development Corporation would own the

building in order to attract funding from government and

foundation sources.     Plt’s Comp., para. 23; Byrd Aff.,

para. 14; Byrd Depo. 53:13-21; 54:1-3. Exhibits A & B

18.   To close the funding on this project, the State of

Maryland Economic Development Corporation issued a

$1,350,000 revenue bond to St. Stephens Economic

Development Corporation, sold through the Columbia Bank.

Plt’s Comp., para. 24; Byrd Aff., para. 24. Exhibit A

19.   A ground breaking ceremony was conducted by Bishop

Vinton Anderson on March 17, 2001 for the child care and

community building and in attendance were Presiding Elder

Godwin Douglas, ministers of the Washington Conference of

the AME Church, church members and community leaders.

Plt’s Comp., para. 25; Byrd Aff., para. 16. Exhibit A



                                 6
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 7 of 49



20.   That the proceeds of the bond were loaned to St.

Stephens Economic Development Corporation through draws

initiated by the construction contractor; approved by the

St. Stephens Economic Development Corporation and finally

approved by an officer of the Columbia Bank. Plt’s Comp.,

para. 25; Byrd Aff., para. 16. Exhibit A

21.   That funds were disbursed based on costs incurred by

the contractor each month and the bond proceeds were used

to construct the child care center on the Mayfield

property.   Plt’s Comp., para 27; Byrd Aff., para. 18.

Exhibit A

22.   The loan was secured by a guarantee from the Maryland

Economic Development Corporation (the “as built” child

care center) and a deed of trust on St. Stephens AME

Church at 7741 Mayfield Avenue, in Elkridge, Maryland.

Plt’s Comp., para. 28; Byrd Aff., para. 19. Exhibit A

23.   A dedication ceremony for the St. Stephens Child Care

Center was held on October 21, 2006 and Bishop Adam J.

Richardson officiated, Presiding Elder Goodwin Douglas

presided with representatives of the Columbia Bank, United

States Department of Health and Human Services, conference

pastors, community leaders, church members and friends

were present for the dedication service.         Plt’s Comp.,

para. 29; Byrd Aff., para. 20. Exhibit A

                                 7
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 8 of 49



24.   That in   mid-June 2010 as a result of the downturn in

the U.S. economy combined with the loss of funds because

of fraud by two vendors of the St. Stephens Economic

Development Corporation, the St. Stephens Economic

Development Corporation failed to make a couple of

payments according to the terms of the loan.         Plt’s Comp.,

para. 30; Byrd Aff., para. 21; Byrd Depo. 101:19-21;

102:1-14. Exhibits A & B

25.   That in turn St. Stephens AME Church was unable to

make the payments due to its own loss of revenue.          Plt’s

Comp., para. 31; Byrd Aff., para. 22. Exhibit A

26.   In 2010-2011 Reverend Byrd and the St. Stephens

Economic Development Corporation worked with the Columbia

Bank to modify its loan and sought assistance through

Presiding Elder Godwin Douglas.       Reverend Byrd sought

financial assistance in the sum of $100,000.00 from

several pastors of the Washington Conference to complete

the loan modification.      Plt’s Comp., para 32; Byrd Aff.,

para. 23; Byrd Depo. 35:16-21; 41:8-10 Exhibits A B H

27.   There was no response from the pastors of the

Washington Conference.      Plt’s Comp., para 33; Byrd Aff.,

para. 24. Exhibit A

28.   The Columbia Bank agreed to the loan modification but

failed to complete the necessary documents to finalize the

                                 8
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 9 of 49



modification.    Plt’s Comp., para. 34; Byrd Aff., para. 25.

Exhibit A

29.   That in 2013 Presiding Elder Goodwin Douglas provided

the name of Bruce Martin who was a financial consultant to

assist St. Stephens AME Church. Plt’s Comp., para. 35;

Byrd Aff., para. 26; Byrd Depo. 134:15-21; 135:1-2.

Exhibits A & D

30.   Columbia Bank subsequently transferred its loan and

collateral to Acquired Capital II, LLP in July 2012.

Plt’s Comp., para. 36; Byrd Aff., para. 27. Exhibit A

31.   The St. Stephens Economic Development Corporation

made eight monthly payments of $4200 and then continued to

make monthly payments of $6,000 to Acquired Capital until

late 2014 when St. Stephens Economic Development

Corporation was notified that the child care building was

put into foreclosure sale status. Plt’s Comp., para. 37;

Byrd Aff., para. 28. Exhibit A

32.   That on December 13, 2003, St. Stephens Development

Corporation dedicated a 4800 square foot Adult Day Care

facility at 7320 Roosevelt Boulevard in Elkridge which

served as an interim ministry space for St. Stephens AME

Church. Plt’s Comp., para. 38; Byrd Aff., para. 29.

Exhibit A



                                 9
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 10 of 49



33.   The Adult Day Care Center was financed with a grant

from the State of Maryland Board of Public Works in the

amount of $487,000 and a $241,000 loan from the Harbor

Bank and secured by a deed of trust on the Roosevelt

property.    Plt’s Comp., para. 39; Byrd Aff., para. 30.

Exhibit A

34.   That on September 30, 2008, St. Stephens Economic

Development Corporation refinanced the Roosevelt property

with a $550,000 loan from the Washington Savings Bank

which retired the Harbor Bank loan, which included a

$50,000.00 business line of credit which was cross

collateralized on the Mayfield Avenue property.          Plt’s

Comp., para. 40; Byrd Aff., para. 31. Exhibit A

35.   That in May 2013 the Washington Savings Bank was

purchased by Old Line Bank and neither bank would remove

the cross collateralized loan from the Mayfield property

causing the Columbia Bank to sell its loan on the Mayfield

property prior to completing the loan modification on the

Mayfield property.     Plt’s Comp., para. 41; Byrd Aff.,

para. 32. Exhibit A

36.   The Old Line Bank subsequently transferred its loan

and collateral to Greenwich Investors in October 2013.

Plt’s Comp., para. 42; Byrd Aff., para. 31. Exhibit A



                                 10
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 11 of 49



37.   The St. Stephens Economic Development Corporation

ceased to make monthly payments to Greenwich Investors in

order to pay the mortgage on its property at 7741 Mayfield

Avenue.     Plt’s Comp., para. 43; Byrd Aff., para. 34.

Exhibit A

38.   Greenwich Investors obtained a confessed judgment

against St. Stephens Economic Development Corporation and

St. Stephens AME Church in June 2014 and withdrew $5000.00

from the church’s account at Columbia Bank as a partial

payment on that bill.      These funds were subsequently

repaid to the church by the St. Stephens Economic

Development Corporation.      Plt’s Comp., para. 44; Byrd

Aff., para. 35. Exhibit A

39.   That in order to protect the tithes and offerings of

St. Stephens AME church members, the church officers voted

to deposit church funds into a new account using the name

of an inactive corporation affiliated with St. Stephens

Economic Development Corporation, that is the St. Stephens

Empowerment Center.      Plt’s Comp., para. 45; Byrd Aff.,

para. 36. Exhibit A

40.   The treasurers of St. Stephens AME Church accounted

for and disbursed funds from the account, providing a

monthly accounting of receipts and disbursements to

members of the St. Stephens AME Church official board and

                                 11
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 12 of 49



church members.     Plt’s Comp., para. 46; Byrd Aff., para.

37. Exhibit A

41.   Acquired Capital II, LLP commenced foreclosure

proceedings on the Mayfield property with a sale date

scheduled for March 11, 2015.         Plt’s Comp., para. 47; Byrd

Aff., para. 38. Exhibit A

42.   That in the two years prior to the sale date Bruce

Martin had been recommended to Reverend Byrd by Presiding

Elder Godwin Douglas to restructure the debt.          Plt’s

Comp., para. 48; Byrd Aff., para. 39. Exhibit A

43.   The St. Stephens Economic Development Corporation and

its attorney filed several injunctions with the Circuit

Court of Howard County to halt the foreclosure

proceedings.    Plt’s Comp., para. 49; Byrd Aff., para. 40.

Exhibit A

44.   The official board of St. Stephens AME Church was

kept abreast of the potential foreclosure of the church

during regular held and called church meetings.          Plt’s

Comp., para. 50; Byrd Aff., para. 41. Exhibit A

45.   That in December 2014 Reverend Byrd contacted

Presiding Elder Louis Charles Harvey to inform him of the

developments and to request financial assistance.           Plt’s

Comp., para. 51; Byrd Aff., para. 42. Exhibit A



                                 12
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 13 of 49



46.   That on March 10, 2015 with the approval of the

officers of St. Stephens AME Church, St. Stephens Economic

Development Corporation and members of the Washington

Conference Board of Trustees filed a joint petition for

bankruptcy protection in the U.S. District Court of

Maryland in Baltimore.      Plt’s Comp., para. 52; Byrd Aff.,

para. 43. Exhibit A

47.   That prior to the filing of the bankruptcy petition

Reverend Byrd met with Bishop William P. DeVeaux, Sr. and

the Washington Conference Board of Trustees to apprise

them of the impending sale and to discuss potential

solutions.    Neither the Bishop nor members of the

Washington Conference Board of Trustees had any

recommendations.     Plt’s Comp., para. 53; Byrd Aff., para.

44; Byrd Depo. 135:3-21. Exhibits A & D

48.   Reverend Jonathan Weaver, Chairman of the Industrial

Bank Board of Trustees was present at this meeting, but

did not offer a bank loan as a solution.         Plt’s Comp.,

para. 54; Byrd Aff., para. 45; Byrd Depo. 134:9-18.

Exhibits A & D

49.   That subsequent to the foreclosure sale of the

building, St. Stephens AME Church obtained a loan to buy

back the property through the Industrial Bank with a



                                 13
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 14 of 49



guarantee from the AME Church.        Plt’s Comp., para. 55;

Byrd Aff., para. 45; Exhibit I

50.   That in January of 2015 a loan was negotiated by St.

Stephens Economic Development Corporation through its

financial consultant in the amount of $800,000 which was

$200,000 less than what Acquired Capital was asking to

halt the foreclosure sale.       Plt’s Comp., para. 56; Byrd

Aff., para. 47. Exhibit A

51.   The Washington Conference refused to assist Reverend

Byrd with negotiating the amount of the sale price or

guaranteeing the loan which would have prevented the

Mayfield property from going into foreclosure sale.           Plt’s

Comp., para. 57; Byrd Aff., para. 48. Exhibit A

52.   That between February and May of 2015 Reverend Byrd

and the Washington Conference Ministerial Efficiency

Committee met twice and met once during the Annual

Conference in April 2015.       Plt’s Comp., para. 58; Byrd

Aff., para. 49. Exhibit A

53.   It was the understanding of Reverend Byrd that the

Ministerial Efficiency Committee meetings were to discuss

the situation at St. Stephens AME Church, not to          put her

on trial. Plt’s Comp., para. 59; Byrd Aff., para. 50.

Exhibit A



                                 14
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 15 of 49



54.   That at no time prior to the meetings with the

Ministerial Efficiency Committee was Reverend Byrd given

instructions as to what documents to bring to these

meetings in order to establish the facts leading to the

potential foreclosure sale of the building.          Plt’s Comp.,

para. 60; Byrd Aff., para. 51; Byrd Depo. 36:14-17.

Exhibits A & D

55.   The Ministerial Efficiency Committee produced a two

page report regarding Reverend Byrd which was read during

the 65th Session of the Washington Annual Conference, April

24, 2015, being held at Reid Temple, 11400 Glen Dale

Boulevard, Glendale, Maryland 20769. Plt’s Comp., para.

61; Byrd Aff., para. 53; Exhibit B

56.   A member of the Ministerial Efficiency Committee

under the direction of Bishop DeVeaux did the

unprecedented act of reading the entire report to over one

thousand AME church members, clergy, officers and lay

persons in attendance.      Plt’s Comp., para. 62; Byrd Aff.,

para. 54. Exhibit A

57.   The report as read stated in part that Reverend Byrd

did not receive permission to collateralize the church

property from the Conference Trustees and failed to get

approval by way of resolution from the Quarterly

Conference and that Reverend Byrd was eight years

                                 15
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 16 of 49



delinquent in paying the mortgage.        Plt’s Comp., para. 63;

Byrd Aff., para. 55. Exhibit A

58.   The April 23, 2015 Ministerial Efficiency Committee

report stated that St. Stephens AME Church did not receive

permission to collateralize the church property from the

Conference Trustees.      Plt’s Comp., para. 63; Byrd Aff.,

para. 56; Byrd Depo. 85:1-9. Exhibits A & D

59.   Reverend Byrd had permission from the St. Stephens

AME Church trustees.      Byrd Depo. 85:1-9; 86:1-21; 87:1-21;

88:1-17; 90:1-21; 91:1-20; Byrd aff., para.56.

Exhibits A & D

60.   The April 23, 2015, Ministerial Efficiency Committee

report stated that Rev. Byrd failed to get approval by way

of resolution from the quarterly conference.          Exhibit C

61.   Reverend Byrd obtained approval by way of resolution

from the quarterly conference. Byrd Depo. 35:8-21; 98:1-

18; 103:1-21; 104:1-18; Byrd aff., para.56.

 Exhibits A D & J.

62.   The April 23, 2015 Ministerial Efficiency Committee

report stated that Rev. Byrd was eight years delinquent in

paying the mortgage leading to foreclosure resulting in a

March 11th bankruptcy filing.      Exhibit B




                                 16
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 17 of 49



63.   Reverend Byrd was not eight years delinquent in

paying the mortgage.      Byrd Depo. 104:19-21; 105:1-6; Byrd

aff., para. 56. Exhibits A & D

64.   The March 30, 2015 letter alleging comingling of

church funds and report of the Ministerial Efficiency

Committee were also reported to meetings of the Bishops’

Council of the AME Church which includes Presiding Elders,

ministers, pastors and lay persons of the AME Church

worldwide.    Plt’s Comp., para. 64; Byrd Aff., para. 57.

Exhibit A

65.   The day care program owned and operated by the St.

Stephens Development Corporation was evicted from the

property at 7741 Mayfield Avenue at the instruction of

Bishop DeVeaux and Presiding Elder Louis Charles Harvey

harming its financial progress which would have exceeded

$450,000 in 2015.     Plt’s Comp., para. 65; Byrd Aff., para.

60. Exhibit A

66.   That the closing of the day care center led to a loss

of fifteen jobs and a loss of income for Reverend Byrd in

the sum of $54,000 plus benefits.        Plt’s Comp., para. 66;

Byrd Aff., para. 61. Exhibit A

67.   An audit was conducted by Phyllis Chesley, CPA, at

the instruction of Bishop William P. DeVeaux, Sr. in June

of 2015 and found no financial irregularities in the books

                                 17
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 18 of 49



of St. Stephens AME Church and all church funds were

accounted for in their accounts.        Plt’s Comp., para. 67;

Byrd Aff., para. 62; Byrd Depo. 71:11-15; 144:1-21; 145:1-

21. Exhibits A & D

68.   That neither Bishop DeVeaux nor the Ministerial

Efficiency Committee ever examined St. Stephens Economic

Development Corporations audits for the years 1998 to

2014.   Plt’s Comp., para. 68; Byrd Aff., para. 63.

Exhibit A

69.   That in October 2015 the United States Bankruptcy

Court for the State of Maryland (Northern District)

rejected the arguments of the Second District ruling that

the fact that nine (9) years of no objection to the

project or development process on the part of the

Washington Conference was a statement of project approval

and Reverend Byrd’s actions were legal.         Plt’s Comp.,

para. 69; Byrd Aff., para. 64; Exhibits A & M

70.   That on February 8, 2016 in the Circuit Court for

Howard County, Maryland, the Washington Annual Conference

sought to nullify the foreclosure of the church and

daycare based on allegations of fraud, lack of authority

and lack of notice on the part of Reverend Byrd.          Plt’s

Comp., para. 70; Byrd Aff., para. 65; Exhibit N



                                 18
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 19 of 49



71.   That on February 8, 2016 the Circuit Court for Howard

County ruled under Maryland law that Reverend Byrd and the

Trustees of St. Stephens AME Church had acted legally and

within their rights to develop and finance the St.

Stephens Child Care and Community Center.         Plt’s Comp.,

para. 71; Byrd Aff., para. 66; Exhibit N

72.   That neither Bishop William P. DeVeaux, Sr. nor the

Washington Conference conducted an investigation which

included review of documents to determine the underlying

facts that led to the foreclosure sale of St. Stephens AME

Church but chose to distort the facts by blaming Reverend

Byrd.   Plt’s Comp., para. 72; Byrd Aff., para. 67; Byrd

Depo. 121:18-21; 122:1-5. Exhibits A & D

73.   That neither the Washington Conference nor Bishop

William P. DeVeaux, Sr. took responsibility for not

assisting St. Stephens AME Church when they were acutely

aware of the financial distress.        Plt’s Comp., para. 73;

Byrd Aff., para. 68; Byrd Depo. 113:7-21. Exhibits A & D

74.   Presiding Elder Goodwin Douglas as part of his

official duties advised St. Stephens AME Church from the

project’s conception until completion and the Church

Conference approved the project.        Plt’s Comp., para. 74;

Byrd Aff., para. 69. Exhibit A



                                 19
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 20 of 49



75.   The project from conception to constructions lasted

from 1994 to 2006 and all the officials affiliated with

the project had notice and participated in their

completion.     Plt’s Comp., para. 75; Byrd Aff., para. 70.

Exhibit A

76.   During discovery it was revealed that the Ministerial

Efficiency Committee report dated March 17, 2016, stated

that Reverend Byrd did not receive permission to

collateralize the church property from the Conference

Trustees and failed to get approval by way of resolution

from the Conference Trustees and that Reverend Byrd was

eight years delinquent in paying the mortgage. Amended

Comp., para.77; Byrd Aff., para. 58; Byrd Depo. 86:1-21.

Exhibits    A   D & C

77.   That Bishop DeVeaux’s publication of the Ministerial

Efficiency Committee report and March 30, 2015 letter

alleging comingling of church funds to the members of the

clergy exposed Dr. Byrd to public scorn, ridicule,

humiliation, embarrassment and potential legal action.

Plt’s Comp., para. 76; Byrd Aff., para. 71. Exhibit A

78.   Reverend Byrd has suffered greatly and her reputation

and good name has been tarnished.        Plt’s Comp., para. 76;

Byrd Aff., para. 72; Byrd Depo. 66:9-21; 67:1-10. Exhibits

A & D

                                 20
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 21 of 49



79.   Reverend Byrd’s ability to pastor and to enjoy the

company of many friends she had developed over thirty (30)

years of ministry in the AME Church is now tarnished.

Byrd Aff., para. 72; Byrd Depo. 66:9-21; 67:1-10.

Exhibits A & D

80.   Reverend Byrd has been discredited within the clergy

profession, suffered loss of income and loss of reputation

within the larger community.       Plt’s Comp., para. 76; Byrd

Aff., para. 71. Exhibit A



                             Respectfully submitted,


                             COLEMAN & HEARNS, LLC

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                             Attorneys for Plaintiff




                                 21
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 22 of 49



           IN THE UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF MARYLAND
                 (Southern Division)

___________________________________

Reverend Alicia Byrd, Ph.D.
                                          :

               Plaintiff,                 :

         vs.                              :
                                              Case No. DKC 17-3251
Bishop William P. DeVeaux, et al.        :

                                          :
          Defendants.
 _________________________________


    PLAINTIFF’S MEMORANDUM OF POINTS OF AUTHORITY IN
SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION
               FOR SUMMARY JUDGMENT


                       DISCUSSION

A.   LEGAL STANDARD

      The Court must grant summary judgment where the

“pleadings, depositions, answers to interrogatories, and

admissions on file, together with the affidavits, if any,

show that there is no genuine issue as to any material

fact.”    Fed. R.Civ. P. 56(c).       While the moving party

bears the burden of demonstrating a lack of genuine issues

of material fact, Rule 56 further requires that the non-

moving party “go beyond the pleadings by [entering

evidence] showing there is a genuine issue for trial.”


                                 22
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 23 of 49



Celotex Corp. v. Catrett, 477 U.S. 317, 323-324, 106 S.Ct.

2458, 91 L.Ed.2d 265 (1986).       “The presence of disputed

facts by itself is insufficient to defeat summary

judgment.”    Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

247, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986).          “An issue of

material fact qualifies as genuine only if there is

evidence on which a jury could base a verdict for the non-

moving party.”     Id. at 248, 106 S.Ct. 2505.

      “If the moving party is successful, that party is

entitled to summary judgment as a matter of law, if the

opposing party ‘fails to make a showing sufficient to

establish the existence of an element essential to that

party’s case, and on which that party will bear the burden

of proof at trial. “      Celotex, 477 U.S. at 322, 106 S.Ct.

2548.   “In making this determination, the Court must view

all inferences ‘in the light most favorable to the non-

moving party.”     Matsushita Elec. Indus. Co. v. Zenith

Radio Corp., 475 U.S. 574, 587-588, 106 S.Ct. 1348, 89

L.Ed.2d 538 (1986).

      “A motion for summary judgment is appropriate if the

court determines that no genuine issue of material fact is

in dispute.    Fed.R.Civ.P.56 (c),(e).      Disputes of fact

must relate to material facts; that is, facts that are

directly germane to legal issue involved.         JKC Holding Co.

                                 23
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 24 of 49



v. Wash-Sports Ventures, Inc., 264 F.3d 459, 465 (4th

Cir.2001).     Differences as to immaterial facts will be

disregarded for purposes of ruling on the motion. Id.”


II.   ANALYSIS

      A.   To Establish A False Light Invasion of Privacy
           Claim

      “To establish a false light invasion of privacy claim

in the State of Maryland, a plaintiff must prove the

following elements: (1) that the defendant gave publicity

to a matter concerning another that places the other

before the public in a false light; (2) that the false

light in which the other person was placed would be highly

offensive to a reasonable person; and (3) that the actor

had knowledge of or acted in reckless disregard as to the

falsity of the publicized matter and the false light in

which the other would be placed.” Chinwuba v. Larsen, 142

Md. App. 327, 359, 790 A.2d 83, 101 (2002); Restatement

(Second of Torts), Section 652E.

      The defendant gave publicity to a matter concerning

Dr. Byrd that placed her before the public in a false

light.     The instant case began with an inquiry regarding

the efficiency of an elder(pastor) in the AME Church

pursuant to The Discipline.       Dr. Byrd appeared before the



                                 24
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 25 of 49



Ministerial Efficiency Committee (hereinafter “MEC”) as

directed by the defendant, Bishop DeVeaux.

      Dr. Byrd appeared before the MEC on March 19 and

March 26, 2015.     The MEC met for a total of two hours and

allegedly wrote a report that was published on April 23,

2015.

      The MEC writes in paragraph three of their report

“[i]t was further determined that Rev. Byrd failed to

secure approval from the Conference trustees and failed to

secure a resolution duly approved by the Quarterly

conference to collateralize St. Stephens property per AMEC

Discipline 2012 page 53 section B paragraph 1. Exhibit B.

         B. Local Church Property – Transfer of Property

         The Board of Trustees, duly elected by the local
         church as provided by The Doctrine and Discipline
         of the African Methodist Episcopal Church, may
         take such steps to purchase, mortgage, sell,
         transfer and convey real and personal
         property, PROVIDED that such transfer has
         been duly approved by the resolution in
         Quarterly Conference of the said church, and
         also by the trustees of the Annual Conference
         in which the property is located, and in
         which the presiding bishop is present.

      The use of Section B of The Discipline was not in

error.   These scholars who are men and women of the gospel

are well versed in The Discipline.        Section B was not

applicable to the facts.      The MEC members’ action raises a

serious question as to why they would act in this manner.

                                 25
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 26 of 49



First of all the MEC members did not write the report.

The report was written by the attorney that represents the

2nd Episcopal District.     Moreover, the bishop referred Dr.

Byrd to the MEC and the bishop will always have the first

and last word due to the fear of the bishop and how much

disruption can occur in their lives if they cross the

bishop.

      Section C. Mortgaging Property page 54 states:

          The Board of Trustees and Incorporators of
          The local church, elected, and organized
          As prescribed in The Doctrine and Discipline
          Of the African Methodist Episcopal Church,
          Shall have the power to mortgage or encumber
          The property of the local church or corporation,
          PROVIDED such action has been authorized my
          Majority vote of the membership present in a
          Duly called Church Conference for this specific
          Purpose. . . .

      Two, the false light in which the other person was

placed would be highly offensive to a reasonable person.

An active member of the clergy most prized possession is

his or her reputation.      It is embarrassing enough to be

referred to the MEC but to have a report read to over 1000

people that infers theft, malfeasance, not trustworthy and

character flaws is a death sentence for a member of the

clergy.    These characterizations would be highly offensive

to a reasonable person.




                                 26
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 27 of 49



      Lastly, that the actor had knowledge of or acted in

reckless disregard as to the falsity of the publicized

matter and the false light in which the other would be

placed.     A troubling aspect of the report is the statement

that “Rev. Byrd was eight years delinquent in paying the

mortgage leading to foreclosure resulting in a March 11th

bankruptcy filing.

      This statement is appalling.       It is unreasonable and

it stretches credulity for the MEC to conclude and believe

that a mortgage lender would allow a mortgagee to violate

the terms of a deed of trust for 96 months and not pursue

legal action to satisfy such a claim.         Interestingly

enough, not one member of the MEC challenged the bishop on

this falsehood.     The MEC members allowed this falsehood to

be used against Dr. Byrd.

      To add insult to injury it was learned during

discovery that the MEC published another report dated

March 17, 2016 during the 66th Session of the Washington

Annual Conference.     This report stated “[i]t has been

determined that Rev. Alicia Byrd collateralized the church

property of St. Stephens AME Church to build a non-profit

facility.     This was done without the approval of the local

church Trustees, the local Church Conference and the

Washington Annual Conference Trustees.         This has resulted

                                 27
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 28 of 49



in foreclosure proceedings on the church property of St.

Stephens AME Church.

      This edition of the false publication essentially

states that the foreclosure occurred because Rev. Byrd

failed to obtain the necessary approvals.         A preposterous

and outrageous statement to further injure Dr. Byrd.


B.   A Tainted Disciplinary Proceeding

      In the instant case, the complaint contains the

necessary elements of false light invasion of privacy.

The Committee on Ministerial Efficiency published an April

23, 2015 report which falsely stated that 1) St. Stephens

AME Church did not receive permission to collateralize the

church property from the Conference Trustees, 2) Reverend

Byrd failed to get approval by way of resolution from the

quarterly conference and 3) Reverend Byrd was eight years

delinquent in paying the mortgage leading to foreclosure

resulting in a March 11th bankruptcy.

      The entire report from the Ministerial Efficiency

Committee was read on the floor of the 65th Session of the

Washington Annual Conference.         In attendance were over

1000 members of the clergy, delegates, visitors and

guests. The statements were false and it characterized

Reverend Byrd as being dishonest.


                                 28
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 29 of 49



      Reverend Byrd became the pastor of St. Stephens AME

Church in 1988.     The church was built in 1900 and lacks

many amenities.     Reverend Byrd with the assistance of the

community and other organizations established a non-profit

entity called the St. Stephens Economic Development Center

to be the entity that could accomplish the goals

established by the members of St. Stephens AME Church.

The church established an Expansion Committee that

consisted of church members to seek means to expand the

church. The Expansion Committee accomplished its task and

was able to vote on the matter before the entire

congregation and a vote was taken.

      Next, the St. Stephens Economic Development

Corporation associated with St. Stephens AME Church to

build a daycare center that was available for church

meetings, office space, community meetings and a fully

operational daycare center serving the clientele in Howard

County, Maryland.

      Resolutions were passed. Attached as Exhibit *.             For

the defendants to allege that Reverend Byrd did not obtain

permission from the church conference is a false

statement.

      The injury that Reverend Byrd suffered she continues

to suffer today.

                                 29
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 30 of 49



      The Bishop also published a letter to the Council of

Bishop outlining the same false statement.         This fact was

confirmed by Reverends Bell and Browning. Byrd Depo.

78:15-21; 79:1-21; 80:1-21; 81:1-21; 82:1-21.



B.   The Court Has Subject Matter Jurisdiction

      “The First Amendment’s Establishment Clause and Free

Exercise Clause grant churches immunity from civil

discovery and trial under certain circumstances in order

to avoid subjecting religious institutions to defending

their religious beliefs and practices in a court of law.”

NLRB v. Catholic Bishop of Chicago, 440 U.S. 490, 99 S.Ct.

1313, 1320, 59 L.Ed.2d 533 (1979).

      Commencing in 1871 with Watson v. Jones, 13 Wall,

679, 80 U.S. 679, 20 L.Ed. 66 (1871), and continuing

through 1979 with Jones v. Wolf, 443 U.S. 595, 99 S.Ct.

3020, 61 L.Ed.2d 775 (1979), the Supreme Court has made

clear that, under the First Amendment Establishment and

Free Exercise clauses, civil courts have no authority to

second-guess ecclesiastical decisions made by a

hierarchical church bodies.       The most succinct expression

of this doctrine appears in Serbian Eastern Orthodox

Diocese v. Milivojevich, 426 U.S. 696, 724-25, 96 S.Ct.

2372, 2387-88, 49 L.Ed.2d 151 (1976):

                                 30
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 31 of 49



        “In short, the First and Fourteenth Amendments
        permit hierarchical religious organizations
        to establish their own rules and regulations
        for internal discipline and government, and
        to create tribunals for adjudicating disputes
        over these matters. When this choice is
        exercised and ecclesiastical tribunals are
        created to decide disputes over the govern-
        ment and direction of subordinate bodies,
        the Constitution requires that civil courts
        accept their decision as binding upon them.”

      In a law review article by Professor of Law Ira Mark

Ellman, Driver from the Tribunal: Judicial Resolution of

Internal Church, 69 Calif. L. Rev. 1378 (1981), writes

“[a]ny organization may experience internal dissension.

For business corporations, social clubs, charities, or

trade associations, such aid is normally available.           But

“if the organization is a church, concern over the

propriety of state intervention may cause a court to

refrain from deciding the dispute.” Id at 1380.

      “Most internal church disputes can be

constitutionally adjudicated without resorting to special

doctrines of judicial deference or abstention.” Id at

1385.

      In Gonzalez v. Roman Catholic Archbishop of Manila,

280 U.S. 1, 16-17, 50 S.Ct. 5, 74 L.Ed. 131 (1929),

Justice Brandeis reliance on the contract principle was

quite explicit:



                                 31
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 32 of 49




         In the absence of fraud, collusion, or
         arbitrariness, the decisions of the
         proper church tribunals on matters
         purely ecclesiastical, although affecting
         civil rights, are accepted in litigation
         before the secular courts as conclusive
         because the parties in interest made them
         by contract or otherwise. Under like
         circumstances, effect is given in the
         courts to the determinations of the
         judicatory bodies established by clubs
         and civil associations.

      “There are two distinct forms of church organization,

congregational and hierarchical.        A congregational is a

church where each local body is self-governing and

independent.    Hierarchical churches are organized as a

body with other churches having similar faith and doctrine

with a common ruling convocation or ecclesiastical head.”

77 CJS Religious Societies, Section 5.

      “The A.M.E. is a hierarchical, connectional

denomination, in which each individual affiliate church

belongs and makes financial payments to the A.M.E.

“Connection” through area “Annual Conferences.”          The

A.M.E. publishes its internal governing policies in a

handbook entitled The Doctrine and Discipline of the

African Methodist Episcopal Church (hereinafter, the “Book

of Discipline” or the “Discipline”), which is updated

every four years.”     Mt. Olive African Methodist Episcopal


                                 32
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 33 of 49



Church of Fruitland, Inc. v. Board of Incorporators of the

African Methodist Episcopal Church, Inc., 348 Md. 299,

303, 703 A.2d 194 (1997).

      “The record is clear that there is only one

‘discipline’ --- that of the A.M.E. Church.          The term

‘discipline’ means the A.M.E. Church’s governing

constitution.     Id at 307.

      In the instant case, the 2012 edition of the

Discipline is being referenced as the governing

constitution and bylaws of the A.M.E. Church.          The

Discipline is published every four years by the General

Conference, edited and approved by the Compilation

Committee.    The 2012 edition was published by order of the

Forty-ninth Conference, held in Nashville, Tennessee, June

27 – July 4, 2012. Published by the AMEC Publishing House.

      “A religious society may adopt rules or bylaws for

the government of its affairs which will be binding unless

they are unreasonable or in conflict with law.” CJS

Religious Societies, Section 6.

      “The bylaws of a church corporation form a contract

between the church and its members, and are interpreted

according to the principle of contract law.”          The General

Convention of the New Jerusalem in the United States of



                                 33
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 34 of 49



America, Inc. v. MacKenzie, 449 Mass. 832, 835, 874 N.E.2d

1084 (2007).

      The Ministerial Efficiency Committee in its April 23,

2015 publication regarding Reverend Byrd, paragraph three

states “[i]t was further determined that Rev. Byrd failed

to secure approval from the Conference trustees and failed

to secure a resolution duly approved by the Quarterly

conference to collateralize St. Stephens property per AMEC

Discipline 2012 page 53 section B paragraph 1. Exhibit B

      Section II. General Church Property discusses Section

A. Purchase Transfer. Section B. Local Church Property-

Transfer of Property. Section C. Mortgaging Property and

Section D. Abandoned Property. Exhibit E

      Section B states “[t]he Board of Trustees, duly

elected by the local church as provided by The Doctrine

and Discipline of the African Methodist Episcopal Church,

may take such steps to purchase, mortgage, sell, transfer

and convey real and personal property, PROVIDED that such

transfer has been duly approved by the resolution in

Quarterly Conference in which the property is located, and

of which the presiding bishop is president.” Exhibit E

      Section C states “[t]he Board of Trustees and

Incorporators of the local church, elected and organized

as prescribed in The Doctrine and Discipline of the

                                 34
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 35 of 49



African Methodist Episcopal Church, shall have the power

to mortgage or encumber the property of the local church

or corporation, PROVIDED such action has been authorized

by majority vote of the membership present in a duly

called Church Conference for this specific purpose.”

Exhibit E

      The applicable section to the facts of the instant

case is Section B. The real property was encumbered and

the St. Stephens Trustees approved the encumbrance.

      Moreover, Section C is consistent with the Court of

Appeals of Maryland decision in Mt. Olive African

Methodist Episcopal Church of Fruitland v. Board of

Incorporators of the African Methodist Episcopal Church,

Inc., 348 Md. 299, 313-314 (1997)when discussing church

property stated, “[i]t is clear that when a congregation

is incorporated under the General Religious Law applicable

to all religious groups, the trustees and local

congregation own and control the property of the local

church. . . .”     So far as the Maryland statutory law is

concerned, there seems to be little doubt that the

trustees and congregations of the local churches are

entitled to own, use and control the property of the

respective corporation.      Dr. Byrd used the correct

provisions of The Discipline. Exhibits F G J & K

                                 35
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 36 of 49



      Bishop DeVeaux and his minions deliberatively applied

Section B to injure the plaintiff’s reputation.          None of

the members of the MEC opposed Bishop DeVeaux for the

simple reason that Bishop DeVeaux as bishop exclusively

makes the annual assignment to what church an AME pastor

will be assigned.     Incidentally, the MEC is made up of the

most successfully financial viable AME Church in the

Second Episcopal District.       These pastors are appointed

and asked to pass upon the efficiency of pastors without

in-house training on how to properly conduct

investigations.     The members of the MEC did not interview

any members of the St. Stephens Economic Development

Corporation.    The MEC members did not interview bank

officials and did not review bank statements.          The MEC did

not review minutes from the trustees of St. Stephens AME

Church.    The MEC receive no formal or informal training on

the proper methodology for conducting a deliberative

hearing.    The MEC do not receive orientation on how to

conduct an investigation.

      Dr. Byrd testified “[i]f a bishop wants to do harm to

a minister that person can be referred to the Ministerial

Efficiency Committee as a cover for action.          You won’t

find that in the Discipline.       Byrd Depo. 32:2-5. Exhibit D



                                 36
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 37 of 49



      The chairman of the Ministerial Efficiency Committee,

Reverend Michael E. Bell, testifying in a deposition dated

Wednesday, July 11, 2018 stated:

      Q:   I get the impression from talking to other

pastors that a referral to the MEC is frightening or

scary.

      A.   It is.

      Q:   Why is it frightening or scary?

      A.   Because people view the MEC as a punitive measure

and nobody really wants to serve on the MEC.

Bell Deposition, 11:19-21; 12:1-3. Exhibit L

      “Internal church disciplinary proceedings which are

tainted by fraud or collusion when the church governing

body acts in bad faith for secular purposes may be subject

to civil court inquiry in a proper proceeding.          The higher

“burden of proof” typically applied to cases of fraud

applies equally in this context.        The scope of review is

constitutionally limited so that the civil courts do not

adjudicate ecclesiastical matters.” First Baptist Church

of Glen Este v. State of Ohio, 591 F.Supp. 676 683 (1983).

      “When a congregational or hierarchical organization

is involved, the decision of the highest church judicatory

to which question has been taken, as to questions of

church discipline or government, are, so far as they are

                                 37
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 38 of 49



relevant, final and binding on civil courts; civil courts

can grant relief from such decisions only if, by the

narrowest kind of review, they are found to have resulted

from fraud, collusion or arbitrariness.”         Presbytery of

the Covenant v. First Presbyterian Church of Paris, Inc.,

552 S.W.2d 865, 870-71 (1977); Gonzalez v. Roman Catholic

Archbishop, 280 U.S. 1, 50 S.Ct. 5, 74 L.Ed. 131;

Presbyterian Church in the United States v. Mary Elizabeth

Blue Hull Memorial Presbyterian Church, 393 U.S. 440, 447

(1969).

      The proceedings as highlighted by The Discipline

states that the Committee on Ministerial Efficiency that

the bishop shall appoint a Committee on Ministerial

Efficiency consisting of five elders (pastors).          The

Ministerial Efficiency Committee meetings that Reverend

Byrd attended consisted of ten elders (pastors).          Namely,

Reverends Michael Bell, Chairman, Grainger Browning,

Barbara Glenn, C. Michelle Langston, William Lamar, IV,

Anna Mosby, Harry Seawright, Lee P. Washington, Jonathan

Weaver, and Henry White. Exhibit E

      The MEC met with Reverend Byrd on March 19, 2015 and

March 26, 2015.     They met for a total of two hours. The

meetings were not recorded. Reverend Byrd was not told

what to bring to the meetings. Reverend Byrd brought to

                                 38
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 39 of 49



the initial meeting documents which she thought would be

helpful in their deliberations but was told by presiding

elder Ronald Braxton “that is not why we are here. Byrd

Deposition, 36: 1-17. Exhibit D

      The MEC was directed to use the incorrect section

dealing with real property in an effort to satisfy the

dictates of Bishop DeVeaux.

      Reverend Byrd was not required pursuant to The

Discipline to obtain permission from the Conference Board

of Trustees, nor get approval by way of resolution of the

Quarterly Conference.      Even though not required by the

Discipline Revered Byrd had quarterly meetings with her

presiding elder, Goodwin Douglas.        Goodwin Douglas was

instrumental in assisting Reverend Byrd and St. Stephens

AME church build two buildings on their property.

      The Presiding Elder is the administrator and advisor

to the pastors in his district.        The responsibilities that

the MEC attempted to cast upon Reverend Byrd are the

duties of the Presiding Elder.        The Presiding Elder is the

vice chair of the Conference Board of Trustees.

      In addition, is does not state anywhere in The

Discipline that a pastor has to appear before the

Conference Board of Trustees.



                                 39
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 40 of 49



      The Discipline states on page 211-212 that the Annual

Conference Trustees are required to meet at least twice

during the conference year ... Minutes and actions of the

Annual Conference Trustees shall be recorded and copies

provided to the bishop and each member of the Board of

Trustees and annual conference.        Exhibit E

      Reverend Byrd, as a pastor, is a member of the Annual

Conference and she is competent to testify that in her

twenty-seven years of serving as pastor within the

Washington Conference she has never received copies of the

minutes and actions of the Annual Conference Trustees.

      The Defendants have acted in total disregard for the

bylaws contained in The Discipline.        They essentially have

not played by the rules.      The recommendations by the MEC

were rendered in violation of its own stated bylaws found

in The Discipline.


C.   Common Law Privileges Not Applicable

      “Common interest privilege, the policy underlying the

common law was that a person should not be held liable for

defamation when that person is good faith . . . publishes

a statement in furtherance of his legitimate interests, or

those shared in a common with the recipient or third

parties.”    Marchesi v. Franchino, 283 Md. 131, 135-36.


                                 40
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 41 of 49



      The defendants write that “common interests are

usually found among members of identifiable groups in

which members share similar goals or values or cooperate

in a single endeavor ...      The idea is to promote free

exchange of relevant information among those engaged in a

common enterprise or activity and to permit them to make

appropriate internal communications and share

communications and share communication without fear of

suit ...(emphasis mine).

      The two publications by the MEC at the behest of

Bishop DeVeaux were not made in good faith.           They were

published with the intent of injuring Dr. Byrd.

      The privilege is forfeited if the publication was

made with malice. “If the publication is made with malice,

that is, knowledge of falsity or reckless disregard for

truth.”    Lindenmuth v. McCreer, 233 Md. App 343, 359

(2017).

      Bishop DeVeaux’s authority as granted by The

Discipline states “the bishop shall decide all questions

of law in the Annual Conference.”         Exhibit E

      The bishop has the first and last word in any matter

in the Washington Conference.         With this power, who is to

say that the bishop has not abandoned his ill-will toward



                                 41
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 42 of 49



Dr. Byrd for her not supporting Bishop DeVeaux when he ran

for the position of bishop.

      Moreover, Bishop DeVeaux is required to know The

Discipline.    He referred Dr. Byrd to the MEC. He told the

chairman of the MEC why she being referred but no one told

Dr. Byrd when she was being referred to the MEC.          Bishop

DeVeaux allegedly directed the attorney for the Second

Episcopal District to write the first publication of the

false statements against Dr. Byrd.        What has been clear in

this case is that the language used in the initial

publication is language that a lawyer would use.

      “Qualified immunity has been granted generally to

comments or criticisms of matters of public figures or

concerning the official conduct of public officials,

provided the statements are made without actual malice.”

A.S. Abell Co. v. Barnes, 258 Md. 56, 58-59, 265 A.2d 207

(1970).

      This is not a property dispute.       Dr. Byrd proceeded

according to The Discipline.       The financial issues that

confronted St. Stephens Economic Development Corporation

and St. Stephens AME Church was the result of the

financial crisis that this country faced in 2008-2009. Let

us not lose sight of the truth of what triggered the

situation.

                                 42
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 43 of 49



      Regarding the scope of “malice,” the court made it

Marchesi v. Franchino, 283 Md. 131, 139, 387 A.2d 1129

“that knowledge of falsity or reckless disregard for truth

is the standard by which malice required to defeat the

conditional privilege is to be measured in cases of

private defamation.”

      The court concludes “our cases make clear that

resolution of whether the privilege has been abused and

whether malice exists is ordinarily a jury question.”

McDermott v. Hughley, 317 Md. 12, 30 (1989), citing

General Motors Corp. v. Piskor, 277 Md. 165, 352 A.2d 810

(1976).

D.   No Claim by Plaintiff Regarding Removal

      The defendants states that Dr. Byrd disagrees with

the church’s decision to remove her as pastor.          Dr. Byrd

was not assigned to a church and she was not removed.

Moreover, Dr. Byrd has not made a claim in her complaint

regarding her not being assigned to a church.          Our

position is that Dr. Byrd was not assigned to a church.

To be perfectly clear, the MEC recommended that in its

supplemental report dated March 17, 2016 that Reverend

Alicia Byrd not be assigned a pastoral charge in the

Second Episcopal District.       Exhibit C

E.   Vicarious Liability and Punitive Damages

                                 43
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 44 of 49



      “Under the well-established rule of respondeat

superior, an employer ordinarily is liable for the torts

committed by its employees while acting within the scope

of employment.”     In the instant case the defendants have

admitted that Bishop DeVeaux is employed by the Washington

Conference and the AME, Inc. When the incident complained

of in this case, Bishop William P. DeVeaux was serving as

bishop in the Washington Conference.

     “The simple test is whether they were acting within
the scope of his employment; not whether they were done
while prosecuting the master’s business, but whether they
were done by a servant in furtherance thereof, and were
such as may fairly be said to have been authorized by him.
By “authorized” is not meant authority expressly
conferred, but whether the act was such as was incident to
the performance of the duties entrusted to him by the
master, even though in opposition to his express and
positive order.”

Fidelity First Home Mortgage Company v. Williams, 208

Md.App. 180, 202, 56 A.3d 501 (2012)(quoting from Wood on

Master and Servant, Section 279 (1877).

      Bishop DeVeaux’s principle guide for his

responsibilities are found in The Discipline in the

section regarding the authority of active bishops.           The

Discipline states that the bishop shall decide all

questions of law in the Annual Conference and the bishop

shall not have anything in this section applied which will

prevent the bishop from using godly judgment in making


                                 44
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 45 of 49



changes in the appointments that are deemed necessary for

the good of the church. Exhibit E

      Moreover, in Embrey v. Holly, 293 Md. 128, 442 A.2d

966 (1982), the Court of Appeals held that an employer may

be liable for punitive damages arising from the tortious

conduct of its employee.      Maryland follows the majority

rule: that punitive damages can be vicariously imposed “on

the master for acts of the servant committed during the

course of his employment without regard to whether the

master authorized, participated in, or ratified the

employee’s conduct.” Id, quoting Boyer & Co. v. Coxen, 92

Md. 366, 368, 48 A. 161 (1901).

      Tee court concludes with:

        “Any liability of the master for a tort
        of his servant is dependent upon the fact
        that the servant was acting at the time
        in the course of the master’s service, and
        for his benefit, within the scope of his
        employment. The master selects him for
        that service and knows, or ought to know,
        what sort of person he is investing with
        authority to act for him. The servant is
        acting for his master when the wrong is
        done - it is in contemplation of the law
        of the master.”

F.   The Law of the Case

      We thought that it would be appropriate to inform

this Court that the decision of Dr. Byrd regarding the




                                 45
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 46 of 49



applicable section of real property in The Discipline has

been addressed in two separate courts.

      The first was in the United States Bankruptcy Court

for the District of Maryland (Northern Division). A

hearing was held on October 8, 2015 before the Honorable

James F. Schneider.      There were several motions before the

Court but we will submit the portion of the transcript

germane to the matter that is currently before this Court.

On page 98:16-22 the Court states “[t]he problem is, is

that what governs here is not only the law of the

bankruptcy code but the State law that applies to the

ability of parties to enter into these kinds of financial

arrangements.     The State law gives the Board of Trustees

of St. Stephens AME Church the authority to enter into the

encumbrance of property in return for a loan, the sale of

buildings and other things.”       Transcript Exhibit M

      The second was in the Circuit Court for Howard

County, Maryland before the Honorable Timothy J.McCrone on

February 8, 2016.     On page 24: 1-12 states “[i]n addition,

the certificate as to resolutions and incumbency indicate

that the Articles of Incorporation were attached and they

indicate that Page 3, all property now or hereafter be

held by the trustees for the use of said church shall be

vested in said body, corporate, and its successors with

                                 46
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 47 of 49



the right to the said trustees or to use or lease mortgage

or sale and convey the same in such manner as they may

judge most conducive to the interest of the church.

      On page 25:3-12 the Court states “[a]nd lastly, it

would seem to me that the interested third parties have

ratified the transaction by failing to object for over

nine years.    That the deed was executed in 2005 and the

daycare center was completed well-before these

proceedings.    The church has regularly used the building

constructed with the borrowed funds for Sunday School and

Bible workshop. Things of that Sort.        Transcript Exhibit N

      We ask how much punishment must Dr. Byrd endure

because of her decision to abide by the rules clearly

articulated in The Discipline of the AME Church.

                       Conclusion

      For the foregoing reasons, the Court should deny the

Defendants’ Motion for Summary Judgment.



                             Respectfully submitted,


                             COLEMAN & HEARNS, LLC

                             /s/Bernard C. Coleman, Jr.
                             Bernard C. Coleman, Jr.(10502)
                             1401 Mercantile Lane
                             Suite 104
                             Upper Marlboro, Maryland 20774
                             (301) 567 1920

                                 47
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 48 of 49



                  CERTIFICATE OF SERVICE


      I HEREBY CERTIFY that on the 20th day of August, 2018,

a copy of the foregoing Motion in Opposition to

Defendants’ Motion for Summary Judgment and proposed Order

were forwarded electronically to Andrew J. Chiang of

O’Hagan Meyer, PLLC, 2560 Huntington Avenue, Suite 204,

Alexandria, Virginia 22303 and Catherine M. Manofsky of

Kramon & Graham, P.A., One South Street, Suite 2600,

Baltimore, Maryland 21202-3201.



                                  /s/Bernard C. Coleman, Jr.
                                  Bernard C. Coleman, Jr.




                                 48
Case 8:17-cv-03251-DKC Document 35 Filed 08/20/18 Page 49 of 49



           IN THE UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF MARYLAND
                 (Southern Division)

___________________________________

Reverend Alicia Byrd, Ph.D.
                                         :

              Plaintiff,                 :

        vs.                              :
                                             Case No. DKC 17-3251
Bishop William P. DeVeaux, et al.        :

                                         :
          Defendants.
 _________________________________

                           O R D E R


      UPON CONSIDERATION of Plaintiff’s Opposition to

Defendants’ Motion for Summary Judgment, its Memorandum of

Points and Authorities in Opposition to Motion for Summary

Judgment and the entire record herein, on this ____ day of

______________, 2018, it is hereby

      ORDERED that Defendants’ Motion for Summary Judgment

be and is DENIED.


                  ________________________________________
                  The Honorable Judge Deborah K. Chasanow




                                 49
